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                                           September 1, 2020

U.S. District Court Clerk's Office
United States District Court, W.D. Washington
700 Stewart Street, Suite 2310
Seattle, WA 98101

       Re:     Washington Cattlemen’s Assoc. v. U.S. EPA, No. 2:19-CV-0569-JCC
               Notice of Recent Ruling

Dear Clerk:

        Intervenor-defendants Puget Soundkeeper Alliance et al. file this Notice of Recent Ruling
to apprise the Court of a recent decision in a similar case in the District of Oregon. While not
precedential, its similar facts and claims make it pertinent to the above-captioned case.

        In Oregon Cattlemen’s Assoc. v. U.S.EPA, No. 3:19-cv-00564-AC (D. Or.), plaintiffs
filed an amended challenge to the Navigable Waters Rule that is exactly the same as one filed in
the above-referenced case challenging the Navigable Waters Rule. Oregon No. 3:19-cv-00564-
AC, ECF 90. The Oregon plaintiffs also filed a Motion for Preliminary Injunction that is
substantially the same as the Motion that is pending in the above-referenced case, Oregon No.
3:19-cv-00564-AC, ECF 95, supported by two declarations that have not been updated since the
challenge to a different rule. Id. The defendants in the Oregon case opposed the Motion. Oregon
No. 3:19-cv-00564-AC, ECF 98.

        At the hearing on the Motion for Preliminary Injunction on August 6, 2020, the Oregon
District Court dismissed the case for lack of standing without prejudice, issuing an oral ruling.
The ruling at the hearing was followed on August 7, 2020, by a minute order denying the Motion
for Preliminary Injunction for lack of standing. Oregon No. 3:19-cv-00564-AC, ECF 108.

                                                Respectfully submitted,

                                                s/ Janette K. Brimmer
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